                 UNITED STATES DISTRICT COURT
                MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                 :      No. 3:18-CV-1400
                                         :
           v.                            :      (JUDGE MANNION)
                                         :
Approximately $5,430.00 in               :      (Filed Electronically)
United States Currency, and              :
$12,570.45 seized from Community         :
Bank Acct. ending in 6994,               :
                                         :
          Defendants                     :

         THIRD STATUS REPORT OF THE UNITED STATES

     This Status Report is filed as directed by the Court’s Order dated

November 5, 2018. (Doc. 8.) The United States and the party of

interest are currently attempting to resolve this case by way of

Information and Plea Agreement.

     On January 23, 2020, in anticipation of filing this Status Report,

the government contacted opposing counsel and confirmed that the stay

of forfeiture proceedings is still agreeable.
     The United States proposes to file another status report, if

necessary, no later than August 5, 2020, to inform the court of the

status of criminal charges.



                                        Respectfully submitted,

                                        DAVID J. FREED
                                        UNITED STATES ATTORNEY

                                 By:     /s/ Jenny P. Roberts
                                        JENNY P. ROBERTS
                                        ASSISTANT U.S. ATTORNEY
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                          CERTIFICATE OF SERVICE

      Pursuant to Standing Order 03-1 and Local Rules 4.2 and 5.7, I

hereby certify that the foregoing document was served through

electronic case filing.

                                   Respectfully submitted,

                                   DAVID J. FREED
                                   UNITED STATES ATTORNEY

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